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1                                                        Judge Ronald B. Leighton
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7                                    UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
8                                             AT TACOMA
9    UNITED STATES OF AMERICA,                   )
                                                 )       CR05-5823RBL
10                              Plaintiff,       )
                                                 )
11                     v.                        )       ORDER TO SEAL
                                                 )
12   THOMAS EVANS DUNIGAN,                       )
                                                 )
13                              Defendant.       )
                                                     )
14
              Having read the government’s Motion for Downward Departure and Government’s
15
     Sentencing Memorandum pursuant to USSG § 5K1.1 in the above-captioned case, which
16
     were filed under seal, and the government’s Motion to Seal, requesting that the motions
17
     remain under seal,
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              It is hereby ORDERED that the government’s Motion for Downward Departure
19
     and Government’s Sentencing Memorandum pursuant to USSG § 5K1.1 in this matter
20
     remain sealed.
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                                                 A
     IT IS SO ORDERED this 19th day of June 2007.
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23                                               RONALD B. LEIGHTON
                                                 UNITED STATES DISTRICT JUDGE
24                                               Digitally Signed upon oral authorization (JAB)
     Proposed by:
25
     s/ Kent Y. Liu
26   KENT Y. LIU
     Special Assistant United States Attorney
27

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     Order to Seal — 1                                                              UNITED STATES ATTORNEY
                                                                                    1201 PACIFIC AVENUE, SUITE 700
     U.S. v. Dunigan/CR05-5823RBL
                                                                                     TACOMA, WASHINGTON 98402
                                                                                            (253) 428-3800
